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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLO RIDA
                               CASE NO.18-6342-Hunt



 UNITED STATES O F AM ERICA,
            Plaintiff
 VS.

 Brandon M artin,
                Defendant
                                   /

                                       ORDER
       THIS CAUSE is before the Courtforthe initialappearance ofthe above-nam ed

defendantts)on a SEALED COMPLAINT.
       UPO N O RAL m otion of the governm ent in open court that the com plaint be

unsealed,itis hereby

       O RDERED AND ADJUDG ED thatthe SEALED COM PLAINT be unsealed as to
aIIpadies in this case.

       DO NE AND ORDERED atFod Lauderdale, Florida this 24th day ofJul
                                                                     y, 2018.




                                   PATRICK M .HUNT
                                   UNITED STATES MAG ISTRATE JUDG E




cc:A1lCounsel
